EXHIBIT B

SEPTEMBER 3(), 2014 LETTER
FROM PNC’S COUNSEL TO
PLAINTIFF WATKINS' COUNSEL

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September 30, 2014

Laurence J. Zie|ke, Esq.

Ziell<e Law Firm PLLC

1250 Meidinger Tower

462 South Fourth Avenue
Louisvil|e, Kentucl<y 40202*3465

Re: l_owry R. Watl<ins, Jr. v. PNC Bank, l\lationa| Association, Individually,
and as Trustee of the Trust Under Wiil of Wi||iam l\/larshall Bu||itt

Dear Larry:

I am writing to confirm the matters discussed during our recent telephone
conversation concerning the above-referenced action.

By lviemorandum Opinion and Order dated September 22, 2014, the Court
dismissed three out of the five causes of action asserted by your client in his
Complaint. The only remaining claims relate to your client’s request for an
accounting and his claim for unjust enrichment

With respect to the claim concerning his right to an accounting, the Court
noted that Kentucl<y law obligates trustees to keep beneficiaries of a trust
"reasonably informed” of the trust and its administration but further noted that
"trustees need not oblige every request of a beneficiary." As we discussed, |\/ir.
Watkins has received regular'detai|ed account statements from the Trustee from
the time that he became a beneficiary In addition, the Trustee has repeatedly
provided him with information separate and apart from the account statements
The Trustee is confident that the Court will agree that the Trustee has more than
satisfied its obligation to keep l\/lr. Watkins ”reasonab|y informed of the Trust and
its administration."

~With respect to the claim for unjust enrichment the Trustee does not
understand the basis for l\/|r. Watl<ins's claim that PNC doubled the value of the

 

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Laurence J. Zie|ke, Esq.
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Trust’s property to $130 million after earlier valuing the real estate at $72 million.
While the Court did not dismiss that claim, it noted that l\/lr. Watkins did not
provide any explanation or support for his figures. The Trustee believes that
those claims will ultimately be deemed to be without merit.

The Uniform Trust Act, which was recently adopted in Kentucky, provides
for the recovery of costs and fees in litigation involving trust administration
Specifical|y, KRS 386B.10-040 provides:

In a judicial proceeding involving the administration of a trust, the
court, as justice and equity may require, may award costs and
expenses, including reasonable attorney's fees, to any party, to be
paid by another party or from the trust that is the subject of the
controversy

Be advised that the Trustee intends to exercise its rights under this statute
and ask the Court to award its costs, expenses, and attorneys' fees incurred in
defending lvir. Watkins's claims. Those costs and expenses will only increase as
this litigation proceeds.

In an effort to mitigate its damages, the Trustee is willing to forego its
rights to recover litigation expenses under the statute if l\/lr. Watkins will
immediately (1) dismiss his remaining claims with prejudice and (2) agree not to
appeal the Court’s |\/|emorandum Opinion and Order entered September 22,
2014. If l\/lr. Watkins will not agree to these conditions, PNC will seek an award of
all costs, fees, and expenses incurred at the conclusion of the litigation

P|ease let me know if your client is interested in this proposal

Sincere|y,

 

CEC/tk

